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                                                   EXHIBIT A to AGREEMENT for JUDGMENT


                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


                                               )
CASHMERE AND CAMEL HAIR                        )
MANUFACTURERS INSTITUTE,                       )
                                               )
       Plaintiff,                              )
                                               )
v.                                             )            C.A. No. 1:21-cv-11872-WGY
                                               )
AMAZON.COM, INC. and                           )
CS ACCESSORIES, LLC,                           )
                                               )
       Defendants.                             )
                                               )


                 FINAL JUDGMENT AND ORDER FOR PERMANENT
            INJUNCTION AS AGAINST DEFENDANT CS ACCESSORIES, LLC

       Pursuant to the Agreement for Judgment filed herein by plaintiff Cashmere and Camel Hair

                                       d defendant CS Accessories, LLC

the claims set forth in the Amended Complaint herein against CSA,

       IT IS HEREBY ORDERED AND ADJUDGED that Final Judgment is hereby entered for

plaintiff CCMI as against defendant CSA, and

       1.      CSA and its members, owners, successors, officers, agents, servants, employees,

successors and subsidiaries, including Johnny Freyre, are hereby PERMANENTLY ENJOINED

from the engaging in, conducting and/or participating in the following activities:

            a. advertising or selling, or participating in the advertisement or sale, of garments that

               are made of synthetic material (such as acrylic) as, or representing them to be,




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 b. advertising or selling, or participating in the advertisement or sale, of any garments

    that are not made of Cashmere as, or re



 c. selling, offering for sale, or accepting or fulfilling orders for, garments made from

    synthetic material (such as acrylic) that have already been advertised as,



                                                 r textile fiber content is properly and

    truthfully represented, advertised and labeled;

 d. selling, offering for sale, or accepting or fulfilling orders for, garments not made of

    Cashmere that have already been represented to be, or have already been advertised



    and/or

 e. selling, offering for sale, or accepting or fulfilling orders for, garments advertised

    or labeled as Cashmere that are not made of Cashmere, including BUT NOT

    LIMITED TO garments advertised or labele

    of synthetic acrylic, rayon, or polyester, including BUT NOT LIMITED TO such

    garments that have glued-on cloth labels affixed to them which bear the U.K.



                                                      underneath that in plain arial-like

                                            AN OR HAND WASH



    with an overall appearance as follows:




                                       2
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                              3
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or as follows, using the same symbol and wording printed against a darker background:




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and including BUT NOT LIMITED TO any such garments using any other different symbol and

wording such as the below:




       or as follows, using a different symbol and wording such as the below:




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or any other symbol or label or representation falsely designating or representing the garment as

                                                     or percentage of Cashmere in a garment.

       This Final Judgment does not in any way limit, restrict, extinguish or otherwise affect the

rights of CCMI to prosecute its claims in this action against defendant Amazon.com, Inc.

       IT IS FURTHER ORDERED that this Court shall retain jurisdiction of this matter for

purposes of construction, modification and enforcement of this Final Judgment and Permanent

Injunction.

       IT IS SO ORDERED this ____
                              7th day of December 2021.




 /s/ William G. Young
William G. Young
United States District Court Judge




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